             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI


PATRICIA PYNE,

                              Plaintiff,
                                                       Case No. 4:14-cv-00680-FJG
V.


LIBERTY SCHOOL DISTRICT,

                              Defendant.


               STIPULATION FOR DISMISSAL WITH PREJUDICE

       In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and

Defendant stipulate and agree that this cause be dismissed with prejudice to the refihing

thereof, with each party to bear her or its own costs, including attorney fees and expenses.

                                  Respectfully submitted,

HOLMAN SCHIAVONE, LLC                           CORONADO KATZ LLC




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